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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA


                                      CRIMINAL MINUTES -GENERAL
 Case No.       2:21-mj-5446                                                  Date      December 1, 2021
 Title          United. States v. Rodonus Echols



 Present: The Honorable Mazgo A. Rocconi, United. States Magistrate Judge

                     Erica Valencia                                             n/a
                     Deputy Clerk                                     Court Reporter./ Recorder

          Attorneys Present for Government:                      Attorneys Present for Defendant:
                           n/a                                                    n/a
 Proceedings:              QRDER OF DETENTION —SUPERVISED RELEASE ALLEGATION

         The Court conducted a detention hearing pursuant to.Federal Rule of Criminal
Procedure 32.1(a)(6) and 18 U.S.C. § 3143(a)following Defendant's arrest for alleged
violations) ofthe terms of Defendant's ❑probation / ~ supervised release.


      The Court fords that Defendant has not:carried. his/her burden of establishing by clear and
convincing evidence [18 U.S.C. § 3142(b-c)] that Defendant:
                 ~       will appear for further proceedings as required ifreleased.
                 ~       will not endanger-the safety of any other person or the community if
                         released.


         The Court.bases .its findings on the following;
                 ~       Allegations in petition
                 ~       Laek of bail resources
                 ~       No stable residence or employment
                 ❑       Ties to foreign countries
                 ❑       Previous failure to appear or violations of probation, parole, or release
                 ~       Nature of previous criminal convictions
                 ❑       Substance abuse



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                               LJIVITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA


                                  CRIMINAL MINUTES -GENERAL
 Case Na - 22.1-mj-5446                                                   Date   December 1,2021
 Title           United States v. Rodonus Echols


                  O      Already in custody on state or federal offense

                  ❑      Refusal to interview with Pretrial Services

                  LI

         ~        Defendant did not oppose the detention request.


                                                   * **
       IT TS THEREFORE ORDERED that the defendant be detained pending further
proceedings...




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